24-01421-FPC11   Doc 41   Filed 09/12/24   Entered 09/12/24 13:16:40   Pg 1 of 35
 Fill in this information to identify the case:
 Debtor name Ideal Property Investments LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                     X Check if this is an
                                                WASHINGTON
 Case number (if known):         24-1421                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 352 Capital GP LLC                                                                     Contingent            $106,925,000.00                          $0.00 $106,925,000.00
 c/o Sean V. Small                                                                      Unliquidated
 Lasher Holzapfel                                                                       Disputed
 Sperry & Ebberson
 PLLC
 601 Union Street,
 Suite 2600
 Seattle, WA 98101
 A&R Water Supply                                                                       Contingent                                                                    $3,275,245.00
 4 Peace Street                                                                         Unliquidated
 Pelham, NY 10803                                                                       Disputed
 Big Boy Tools LLC                                                                      Contingent                                                                    $3,038,358.00
 12625 Hideout Drive                                                                    Unliquidated
 Noblesville, IN 46060                                                                  Disputed
 ChugIt LLC                                                                             Contingent                                                                    $3,638,308.00
 2111 Riverview Dr.                                                                     Unliquidated
 Dandridge, TN 37725                                                                    Disputed
 COLE WS TECH LLC                                                                       Contingent                                                                    $2,453,150.00
 2960 Lewallen Place                                                                    Unliquidated
 Decatur, IL 62521                                                                      Disputed
 First Federal Bank                                             19355 SW Teton          Contingent             $24,148,034.80             $10,420,000.00            $13,728,034.80
 c/o Lane Powell LLP                                            AvenueTualatin,         Unliquidated
 1420 Fifth Avenue,                                             OR 97062 11410          Disputed
 Suite 4200                                                     Beverly Park
 Attn: Gregory R. Fox                                           RoadEverett, WA
 98101                                                          98204
 Granite Street                                                                         Contingent                                                                    $3,154,417.00
 Ventures, LLC                                                                          Unliquidated
 2468 Santa Barbara                                                                     Disputed
 Ln
 Franklin, TN 37069
 Indiana Water                                                                          Contingent                                                                    $3,403,296.00
 Technology LLC                                                                         Unliquidated
 6404 Myrtle Lane                                                                       Disputed
 Indianapolis, IN
 46220




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Ideal Property Investments LLC                                                                     Case number (if known)         24-1421
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 MAJI 8377 LLC                                                                          Contingent                                                                    $1,501,945.00
 8377 Old Plank Rd.                                                                     Unliquidated
 Grand Blanc, MI                                                                        Disputed
 48439
 Pacific Water                                                                          Contingent                                                                    $3,247,171.00
 Technology LLC                                                                         Unliquidated
 2305 43rd Street SE                                                                    Disputed
 Puyallup, WA 98374
 Prasiti Water                                                                          Contingent                                                                    $2,807,461.00
 Investments LLC                                                                        Unliquidated
 2001 S Hardin Blvd                                                                     Disputed
 Suite 110 #102
 McKinney, TX 75070
 RC WS TECH 1157                                                                        Contingent                                                                    $2,006,250.00
 LLC                                                                                    Unliquidated
 2960 Lewallen Place                                                                    Disputed
 Decatur, IL 62521
 RD WS TECH 3594                                                                        Contingent                                                                    $1,679,764.00
 7356 Lester Street                                                                     Unliquidated
 Lexington, MI 48450                                                                    Disputed
 Rose Trail Ventures 2                                                                  Contingent                                                                    $2,584,221.00
 LLC                                                                                    Unliquidated
 4216 Central Lane                                                                      Disputed
 Memphis, TN 38117
 Rose Trail Ventures                                                                    Contingent                                                                    $2,584,221.00
 LLC                                                                                    Unliquidated
 4216 Central Lane                                                                      Disputed
 Memphis, TN 38117
 SDB H20 LLC                                                                            Contingent                                                                    $1,812,369.00
 6276 Talon Preserve                                                                    Unliquidated
 Dr                                                                                     Disputed
 Nokomis, FL 34275
 Siripi WST LLC                                                                         Contingent                                                                    $3,410,500.00
 13919 Hughes Lane                                                                      Unliquidated
 Dallas, TX 75240                                                                       Disputed
 Socotra REIT I LLC                                             530 Opper                                        $8,001,770.71             $4,900,000.00              $3,101,770.71
 2208 29th Street,                                              StreetEscondido,
 Suite 100                                                      CA
 Sacramento, CA
 95817
 SS Holdings LLC                                                                                                 $3,147,802.00                         $0.00          $3,147,802.00
 4601 Chennault
 Beach Road, Suite
 200
 Mukilteo, WA 98275
 WST LLC                                                                                Contingent                                                                    $1,979,851.00
 6276 Talon Preserve                                                                    Unliquidated
 Dr                                                                                     Disputed
 Nokomis, FL 34275




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                    24-01421-FPC11                     Doc 41        Filed 09/12/24              Entered 09/12/24 13:16:40                             Pg 3 of 35
 Fill in this information to identify the case:

 Debtor name            Ideal Property Investments LLC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF WASHINGTON

 Case number (if known)              24-1421
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       77,388,578.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            54,230.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       77,442,808.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $     169,980,681.22


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           564,639.61

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$     105,464,942.70


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $        276,010,263.53




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         Ideal Property Investments LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF WASHINGTON

 Case number (if known)         24-1421
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Bank of America                                          Checking                       9435                                             $0.00




           3.2.     Cadence Bank                                                                            unk.                                             $0.00




           3.3.     Northwest Bank                                                                          1300                                    $54,230.00




           3.4.     Chase                                                                                   9470                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                $54,230.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor         Ideal Property Investments LLC                                                     Case number (If known) 24-1421
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                               989,101.00    -                          989,101.00 =....                               $0.00
                                              face amount                            doubtful or uncollectible accounts



 12.       Total of Part 3.
                                                                                                                                                  $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and              Net book value of         Valuation method used   Current value of
           property                                       extent of               debtor's interest         for current value       debtor's interest
           Include street address or other                debtor's interest       (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 2
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 Debtor         Ideal Property Investments LLC                                               Case number (If known) 24-1421
                Name

           available.


           55.1.
                     4237 E. Magnolia
                     Phoenix, AZ                                                            $0.00                                   $1,250,000.00


           55.2.
                     1930 N. 22nd Avenue
                     Phoenix, AZ 85009                                                      $0.00                                   $5,800,000.00


           55.3.
                     653 E. 20th Street
                     Yuma, AZ                                                               $0.00                                   $1,500,000.00


           55.4.
                     700 S. Arizona Blvd.
                     Coolidge, AZ 85128                                                     $0.00                                    $100,000.00


           55.5.     25377 Huntwood
                     Avenue
                     Hayward, CA 94544                                                      $0.00                                   $9,500,000.00


           55.6.
                     530 Opper Street
                     Escondido, CA                                                          $0.00                                   $4,900,000.00


           55.7.
                     877 Orange Avenue
                     Tallahassee, FL                                                        $0.00                                    $599,000.00


           55.8.
                     8460 Thomas Avenue
                     Bridgeview, IL 60455                                                   $0.00                                    $650,000.00


           55.9.
                     1924 North Avenue W
                     Missoula, MT 59801                                                     $0.00                                    $691,200.00


           55.10
           .     7925 W. Arby Avenue
                     Las Vegas, NV 89113                                                    $0.00                                   $2,800,000.00


           55.11 19355 SW Teton
           .     Avenue
                     Tualatin, OR 97062                                                     $0.00                                   $2,950,000.00


           55.12
           .     2709 Electronic Lane
                     Dallas, Texas 75220                                                    $0.00                                   $4,750,000.00


           55.13 630 Vereda
           .     San Antonio, TX
                     78201                                                                  $0.00                                    $180,900.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Ideal Property Investments LLC                                               Case number (If known) 24-1421
                Name

           55.14 4407 Sun Vista Lane
           .     San Antonio, TX
                     78217                                                                  $0.00                                    $230,700.00


           55.15
           .     586 West 9320 South
                     Sandy, UT 84070                                                        $0.00                                   $2,789,328.00


           55.16
           .     27423 40th Avenue
                     Stanwood, WA 98292                                                     $0.00                                    $775,000.00


           55.17
           .     12 Emery Road
                     Oroville, WA 98844                                                     $0.00                                    $175,000.00


           55.18 11410 Beverly Park
           .     Road
                     Everett, WA 98204                                                      $0.00                                   $7,470,000.00


           55.19
           .     3811 188th Street NE
                     Arlington, WA 98223                                                    $0.00                                   $1,000,000.00


           55.20 27602 40th Avenue
           .     NW
                     Stanwood, WA 98292                                                     $0.00                                    $775,000.00


           55.21 3200 Shoreline Drive
           .     Camano Island, WA
                     98292                                                                  $0.00                                    $900,000.00


           55.22
           .     Interest in Ideal
                     Industrial Park LLC                                                    $0.00                                         Unknown


           55.23
           .     Interest in 2129
                     Andrea Lane LLC                                                        $0.00                                   $4,100,000.00


           55.24
           .     Interest in 1118
                     Virginia Street LLC                                                    $0.00                                    $525,000.00


           55.25
           .     Interest in 701 Eden
                     LLC                                                                    $0.00                                    $900,000.00


           55.26
           .     Interest in 11519
                     South Petropark LLC                                                    $0.00                                    $975,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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 Debtor         Ideal Property Investments LLC                                               Case number (If known) 24-1421
                Name

            55.27
            .     Interest in 343 Johnny
                     Clark LLC                                                              $0.00                                    $850,000.00


            55.28
            .
                     Interest in 8825 LLC                                                   $0.00                                   $4,545,000.00


            55.29
            .     Interest in 3422 W.
                     Clarendon LLC                                                          $0.00                                   $1,982,550.00


            55.30
            .     Interest in Smokey
                     Point Holdings LLC                                                     $0.00                                   $8,574,900.00


            55.31
            .     Interest in Ideal
                     Murfreesboro LLC                                                       $0.00                                   $3,900,000.00


            55.32
            .     Interest in Ideal
                     Greenleaf LLC                                                          $0.00                                   $1,250,000.00



 56.        Total of Part 9.
                                                                                                                                 $77,388,578.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
                Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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             24-01421-FPC11                       Doc 41             Filed 09/12/24    Entered 09/12/24 13:16:40              Pg 9 of 35
 Debtor          Ideal Property Investments LLC                                                                     Case number (If known) 24-1421
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                           $54,230.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                  $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                              $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $77,388,578.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                             $54,230.00           + 91b.           $77,388,578.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $77,442,808.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                             page 6
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             24-01421-FPC11                         Doc 41             Filed 09/12/24                    Entered 09/12/24 13:16:40                       Pg 10 of 35
 Fill in this information to identify the case:

 Debtor name         Ideal Property Investments LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF WASHINGTON

 Case number (if known)             24-1421
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                     Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim              Value of collateral
                                                                                                                                                 that supports this
                                                                                                                    Do not deduct the value      claim
                                                                                                                    of collateral.
 2.1   352 Capital GP LLC                            Describe debtor's property that is subject to a lien             $106,925,000.00                         $0.00
       Creditor's Name
       c/o Sean V. Small
       Lasher Holzapfel Sperry &
       Ebberson PLLC
       601 Union Street, Suite 2600
       Seattle, WA 98101
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.2   Cadence Bank                                  Describe debtor's property that is subject to a lien                $1,123,400.91              $1,500,000.00
       Creditor's Name                               653 E. 20th StreetYuma, AZ
       Attn: Billy J. Babineaux, Jr.,
       315 Settlers Trace Blvd
       Lafayette, LA 70508
       Creditor's mailing address                    Describe the lien
                                                     Deed of Trust
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
          No                                            Contingent
          Yes. Specify each creditor,



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 10
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 Debtor       Ideal Property Investments LLC                                                           Case number (if known)    24-1421
              Name

       including this creditor and its relative          Unliquidated
       priority.                                         Disputed




 2.3   Cadence Bank                                  Describe debtor's property that is subject to a lien                   $1,102,181.99       $691,200.00
       Creditor's Name                               1924 North Avenue WMissoula, MT 59801
       Attn: Billy J. Babineaux, Jr.,
       315 Settlers Trace Blvd
       Lafayette, LA 70508
       Creditor's mailing address                    Describe the lien
                                                     Deed of Trust
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.4   Cadence Bank                                  Describe debtor's property that is subject to a lien                   $1,400,202.63      $2,789,328.00
       Creditor's Name                               586 West 9320 SouthSandy, UT 84070
       Attn: Billy J. Babineaux, Jr.,
       315 Settlers Trace Blvd
       Lafayette, LA 70508
       Creditor's mailing address                    Describe the lien
                                                     Deed of Trust
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.5   Cadence Bank                                  Describe debtor's property that is subject to a lien                   $3,379,541.94      $4,750,000.00
       Creditor's Name                               2709 Electronic LaneDallas, Texas 75220
       Attn: Billy J. Babineaux, Jr.,
       315 Settlers Trace Blvd
       Lafayette, LA 70508
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 10
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 Debtor       Ideal Property Investments LLC                                                           Case number (if known)    24-1421
              Name

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.6   Everett 1 LLC                                 Describe debtor's property that is subject to a lien                   $1,024,402.48               $0.00
       Creditor's Name
       c/o Schweet Linde &
       Rosenblum, PLLC, 575 S.
       Michigan St.
       Seattle, WA 98108
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.7   First Federal Bank                            Describe debtor's property that is subject to a lien                 $24,148,034.80      $10,420,000.00
       Creditor's Name                               19355 SW Teton AvenueTualatin, OR 97062;
       c/o Lane Powell LLP                           11410 Beverly Park RoadEverett, WA 98204
       1420 Fifth Avenue, Suite
       4200
       Attn: Gregory R. Fox
       98101
       Creditor's mailing address                    Describe the lien
                                                     Deed of Trust
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




       First Security Bank of
 2.8
       Nevada                                        Describe debtor's property that is subject to a lien                   $7,828,109.70      $9,850,000.00
       Creditor's Name                               4237 E. MagnoliaPhoenix, AZ; 1930 N. 22nd
       Attn: Carolyn Crockett, 9130                  AvenuePhoenix, AZ 85009; 7925 W. Arby
       W Russell Rd., Suite 100                      AvenueLas Vegas, NV 89113
       Las Vegas, NV 89148
       Creditor's mailing address                    Describe the lien
                                                     Deed of Trust
                                                     Is the creditor an insider or related party?

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 Debtor       Ideal Property Investments LLC                                                           Case number (if known)      24-1421
              Name

                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




       Integra Realty
 2.9
       Resources-Charlotte LLC                       Describe debtor's property that is subject to a lien                         $3,000.00               $0.00
       Creditor's Name
       214 W. Tremont Ave, Suite
       200
       Charlotte, NC 28203
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 0     Jo A. Duke Properties                         Describe debtor's property that is subject to a lien                       $650,000.00               $0.00
       Creditor's Name


       4078 Bell Meadows Rd.
       Longview, TX 75605
       Creditor's mailing address                    Describe the lien
                                                     Deed of Trust
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.1   Lance Mueller &
 1     Associates/Architects                         Describe debtor's property that is subject to a lien                       $113,902.72               $0.00
       Creditor's Name
       140 Lakeside Avenue, Suite
Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 4 of 10
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 Debtor       Ideal Property Investments LLC                                                           Case number (if known)     24-1421
              Name

       310
       Seattle, WA 98122
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 2     Land Technologies, Inc.                       Describe debtor's property that is subject to a lien                       $18,881.25               $0.00
       Creditor's Name


       18820 3rd Ave NE
       Arlington, WA 98223
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 3     NBC Mergeco, Inc.                             Describe debtor's property that is subject to a lien                   $1,122,855.71        $775,000.00
       Creditor's Name                               27423 40th AvenueStanwood, WA 98292
       c/o Schweet Linde &
       Rosenblum, PLLC, 575 S.
       Michigan St.
       Seattle, WA 98108
       Creditor's mailing address                    Describe the lien
                                                     Deed of Trust
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.


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 Debtor       Ideal Property Investments LLC                                                           Case number (if known)      24-1421
              Name




 2.1
 4     NBC Mergeco, Inc.                             Describe debtor's property that is subject to a lien                   $1,124,962.89                 $0.00
       Creditor's Name
       c/o Schweet Linde &
       Rosenblum, PLLC, 575 S.
       Michigan St.
       Seattle, WA 98108
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 5     NBC Mergeco, Inc.                             Describe debtor's property that is subject to a lien                       $624,932.58       $900,000.00
       Creditor's Name                               3200 Shoreline DriveCamano Island, WA 98292
       c/o Schweet Linde &
       Rosenblum, PLLC, 575 S.
       Michigan St.
       Seattle, WA 98108
       Creditor's mailing address                    Describe the lien
                                                     Deed of Trust
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       1. Tyee Beach Water
       Association, Inc.
       2. NBC Mergeco, Inc.

 2.1
 6     Pitney Bowes Inc.                             Describe debtor's property that is subject to a lien                         $1,750.68               $0.00
       Creditor's Name


       27 Waterview Dr., 3rd Floor
       Shelton, CT 06484
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?

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 Debtor       Ideal Property Investments LLC                                                           Case number (if known)      24-1421
              Name

       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 7     Servbank, SB                                  Describe debtor's property that is subject to a lien                       $150,356.72       $230,700.00
       Creditor's Name                               4407 Sun Vista LaneSan Antonio, TX 78217

       3201 Orchard Rd.
       Oswego, IL 60543
       Creditor's mailing address                    Describe the lien
                                                     Deed of Trust
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 8     Socotra REIT I LLC                            Describe debtor's property that is subject to a lien                   $8,001,770.71        $4,900,000.00
       Creditor's Name                               530 Opper StreetEscondido, CA

       2208 29th Street, Suite 100
       Sacramento, CA 95817
       Creditor's mailing address                    Describe the lien
                                                     Deed of Trust
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 9     Socotra REIT I LLC                            Describe debtor's property that is subject to a lien                   $7,987,868.28        $9,500,000.00
       Creditor's Name                               25377 Huntwood AvenueHayward, CA 94544

       2208 29th Street, Suite 100
       Sacramento, CA 95817
       Creditor's mailing address                    Describe the lien


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 Debtor       Ideal Property Investments LLC                                                           Case number (if known)    24-1421
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                                                     Deed of Trust
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.2
 0     SS Holdings LLC                               Describe debtor's property that is subject to a lien                   $3,147,802.00               $0.00
       Creditor's Name
       4601 Chennault Beach Road,
       Suite 200
       Mukilteo, WA 98275
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.2   State of Washington, Dept of
 1     Ecology                                       Describe debtor's property that is subject to a lien                       $1,720.00               $0.00
       Creditor's Name


       300 Desmon Dr SE
       Lacey, WA 98503
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.2   Tyee Beach Water
 2     Association, Inc.                             Describe debtor's property that is subject to a lien                        $600.00        $900,000.00
Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 8 of 10
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              Name

       Creditor's Name                               3200 Shoreline DriveCamano Island, WA 98292
       c/o Carolyn Strong, 3067
       Shoreline Dr.
       Camano Island, WA 98282
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       Specified on line 2.15

 2.2   Water for Commerce Fund
 3     Management, LLC                               Describe debtor's property that is subject to a lien                        Unknown                 $0.00
       Creditor's Name
       c/o K. Terrell Hutchins,
       Ottergourg, P.C., 230 Park
       Ave.
       New York, NY 10169
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.2
 4     We Do Dirt LLC                                Describe debtor's property that is subject to a lien                       $99,403.23               $0.00
       Creditor's Name


       P.O. Box 65
       North Lakewood, WA 98259
       Creditor's mailing address                    Describe the lien
                                                     Mechanic's Lien
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
          No                                            Contingent
          Yes. Specify each creditor,

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       including this creditor and its relative          Unliquidated
       priority.                                         Disputed




                                                                                                                        $169,980,681
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  .22

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity
        David P. Papiez
        Fox Rothschild                                                                                    Line   2.8
        1001 Fourth Avenue, Suite 4400
        Seattle, WA 98104

        Jeffrey L. Smoot
        Westwood Pacific Law PLLC                                                                         Line   2.20
        1725 SW Roxbury Street, Ste. 2
        Seattle, WA 98106

        Lane Powell PC
        1420 Fifth Avenue, Suite 4200                                                                     Line   2.7
        Attn: Gregory R. Fox
        Seattle, WA 98101

        Michael Wachtell
        Buchalter PC                                                                                      Line   2.18
        1000 Wilshire Blvd, Suite 1500
        Los Angeles, CA 90017

        Michael Wachtell
        Buchalter PC                                                                                      Line   2.19
        1000 Wilshire Blvd, Suite 1500
        Los Angeles, CA 90017

        Valier J. Schratz
        Hall Griffin LLP                                                                                  Line   2.17
        1851 E 1st Street, 10th Floor
        Santa Ana, CA 92705

        Vivian B. Fisher
        Burke Law Group LLP                                                                               Line   2.2
        235 Peachtree St NE, Suite 1900
        Atlanta, GA 30303




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 Fill in this information to identify the case:

 Debtor name         Ideal Property Investments LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF WASHINGTON

 Case number (if known)           24-1421
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                      $14,750.48          $14,750.48
           Bexar County                                              Check all that apply.
                                                                        Contingent
           Tax Assessor Collector,
                                                                        Unliquidated
           233 N Pecos La Trinidad
                                                                        Disputed
           San Antonio, TX 78207
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                    $268,183.41           $268,183.41
           Dallas County                                             Check all that apply.
                                                                        Contingent
           c/o John K. Turner, Linebarger
                                                                        Unliquidated
           Goggan Blair & Sampson, LLP, 2777
                                                                        Disputed
           N. Stemmons Frwy, Suite 1000
           Dallas, TX 75207
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          $354.60         $0.00
           Harris Co ESD #09                                         Check all that apply.
                                                                        Contingent
           P.O. Box 3064
                                                                        Unliquidated
           Houston, TX 77253
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes




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              Name

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $21,775.45     $21,775.45
          Island County Treasurer                                    Check all that apply.
                                                                        Contingent
          P.O. Box 699
                                                                        Unliquidated
          Coupeville, WA 98239
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (8)                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $860.12     $860.12
          Lone Star College System                                   Check all that apply.
                                                                        Contingent
          P.O. Box 3064
                                                                        Unliquidated
          Houston, TX 77253
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (8)                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $11,088.13     $11,088.13
          Maricopa County Treasurer                                  Check all that apply.
                                                                        Contingent
          301 W Jefferson St., Suite 100
                                                                        Unliquidated
          Phoenix, AZ 85003
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (8)                        Yes


 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,629.73     $6,629.73
          Missoula County Treasurer                                  Check all that apply.
                                                                        Contingent
          200 W. Broadway
                                                                        Unliquidated
          Missoula, MT 59801
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (8)                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,133.30     $1,133.30
          Oroville-Tonasket Irrigation District                      Check all that apply.
                                                                        Contingent
          P.O. Box 1729
                                                                        Unliquidated
          Oroville, WA 98844
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (8)                        Yes




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 Debtor        Ideal Property Investments LLC                                                                 Case number (if known)          24-1421
               Name

 2.9        Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $2,654.83    $2,654.83
            Pinal County Treasurer                                   Check all that apply.
                                                                        Contingent
            P.O. Box 729
                                                                        Unliquidated
            Florence, AZ 85132
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a) (8)                      Yes


 2.10       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                  $20,310.06        $20,310.06
            Salt Lake County Treasurer                               Check all that apply.
                                                                        Contingent
            c/o Ray Lancaster,
                                                                        Unliquidated
            2001 S. State St., Suite N1-200
                                                                        Disputed
            Salt Lake City, UT 84114
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a) (8)                      Yes


 2.11       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                 $196,021.93        $196,021.93
            Snohomish County Treasurer                               Check all that apply.
                                                                        Contingent
            3000 Rockefeller Ave, M/S 501
                                                                        Unliquidated
            Everett, WA 98201
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a) (8)                      Yes


 2.12       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                  $20,877.57        $20,877.57
            Washington County Tax Collector                          Check all that apply.
                                                                        Contingent
            155 N 1st Ave., Suite 130, MS-8
                                                                        Unliquidated
            Hillsboro, OR 97124
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a) (8)                      Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim


 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $504,812.00
           210 SA Holdings LLC
                                                                                       Contingent
           825 North Saint Marys, Suite 101                                            Unliquidated
           San Antonio, TX 78205                                                       Disputed
           Date(s) debt was incurred                                               Basis for the claim:
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes




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 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,275,245.00
          A&R Water Supply
                                                                                Contingent
          4 Peace Street                                                        Unliquidated
          Pelham, NY 10803                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $572,327.00
          Abby Wyatt Group Inc.
                                                                                Contingent
          214 Mountain Crest Dr.                                                Unliquidated
          Taylors, SC 29687                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $431,793.00
          Adventure Done Right LLC
                                                                                Contingent
          3395 S La Mesa Rd.                                                    Unliquidated
          Salt Lake City, UT 84109                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $595,000.00
          Aiden Waterworks
                                                                                Contingent
          17825 Parkshore                                                       Unliquidated
          Northville, MI 48168                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $100,300.00
          Aqualux Water LLC
          c/o James P. Savitt,
          Fennemore Craig, P.C.,
                                                                                Contingent
          1425 Fourth Ave., Suite 800                                           Unliquidated
          Seattle, WA 98101-2272                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $850,000.00
          ASH Vending LLC
                                                                                Contingent
          10550 Morningdew Court                                                Unliquidated
          Littleton, CO 80126                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $452,000.00
          Be of Service LLC
                                                                                Contingent
          2601 Westheimer Rd #C502                                              Unliquidated
          Houston, TX 77098                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,038,358.00
          Big Boy Tools LLC
                                                                                Contingent
          12625 Hideout Drive                                                   Unliquidated
          Noblesville, IN 46060                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



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 Debtor       Ideal Property Investments LLC                                                          Case number (if known)            24-1421
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,013,154.00
          BLC Water Company
                                                                                Contingent
          1130 W Clifton Ave                                                    Unliquidated
          Redlands, CA 92373                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $59,177.32
          Brightstreet Development LLC
                                                                                Contingent
          221 State Ave, Suite 201                                              Unliquidated
          Marysville, WA 98270                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $425,000.00
          Brown Family Enterprises LLC
                                                                                Contingent
          P.O. Box 145                                                          Unliquidated
          Salem, OR 97308                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $856,213.00
          C&C Investment Holdings LLC
                                                                                Contingent
          4200 Berry D Sims Wynd                                                Unliquidated
          Raleigh, NC 27612                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $429,659.00
          CHAURISHI RETAIL ENTERPRISES LLC
                                                                                Contingent
          17775 NW Santiam Ct                                                   Unliquidated
          Portland, OR 97229                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,638,308.00
          ChugIt LLC
                                                                                Contingent
          2111 Riverview Dr.                                                    Unliquidated
          Dandridge, TN 37725                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $430,312.00
          Coco Aqua LLC
                                                                                Contingent
          139 Silent Manor Dr                                                   Unliquidated
          Sugar Land, TX 77498                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,453,150.00
          COLE WS TECH LLC
                                                                                Contingent
          2960 Lewallen Place                                                   Unliquidated
          Decatur, IL 62521                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       Ideal Property Investments LLC                                                          Case number (if known)            24-1421
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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $19,436.00
          COLE WS TECH LLC
                                                                                Contingent
          2960 Lewallen Place                                                   Unliquidated
          Decatur, IL 62521                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,687.36
          Columbia Fire LLC
                                                                                Contingent
          111 S Findlay St                                                      Unliquidated
          Seattle, WA 98108                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $31,703,184.11
          Creative Technologies LLC
                                                                                Contingent
          2732 Grand Ave., Suite 122                                            Unliquidated
          Everett, WA 98201                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $426,941.00
          Culminate Water Technology LLC
                                                                                Contingent
          23015 Caterham Drive                                                  Unliquidated
          Ashburn, VA 20148                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $225,244.01
          Dr. Ryan Richard
                                                                                Contingent
          77 Peachtree Memorial Dr NW #3                                        Unliquidated
          Atlanta, GA 30309                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,004,500.00
          Driftless Water Ventures
                                                                                Contingent
          15403 Budd Road                                                       Unliquidated
          Dubuque, IA 52002                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $850,000.00
          Duane Okamoto and Linda Okamoto
          c/o James P. Savitt,
          Fennemore Craig, P.C.,
                                                                                Contingent
          1425 Fourth Ave., Suite 800                                           Unliquidated
          Seattle, WA 98101                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $16,577.47
          Earth Solutions NW, LLC
                                                                                Contingent
          15365 NE 90th St., Suite 100                                          Unliquidated
          Redmond, WA 98052                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



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 Debtor       Ideal Property Investments LLC                                                          Case number (if known)            24-1421
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 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $459,000.00
          Etania LLC
                                                                                Contingent
          9363 E Atlantic Pl                                                    Unliquidated
          Denver, CO 80231                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $286,910.00
          Ever Upward Inc
                                                                                Contingent
          21 W Taylor Run Pkwy                                                  Unliquidated
          Alexandria, VA 22314                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $425,000.00
          FACTS PROPERTY SERVICES
                                                                                Contingent
          7227 E. Baseline Rd, Ste 104                                          Unliquidated
          Mesa, AZ 85209                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,020,000.00
          Flatlands Equipment LLC
                                                                                Contingent
          4306 W Shoreline Street                                               Unliquidated
          Wichita, KS 67205                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Founders Mosaic Partners LLC
          Tarek Mercho
          Mercho Caughey
                                                                                Contingent
          828 E. 64th Street                                                    Unliquidated
          Indianapolis, IN 46220                                                Disputed
          Date(s) debt was incurred 06/27/2024                               Basis for the claim: Judgment
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,003,000.00
          Gary Young and Heidi Young
          c/o James P. Savitt,
          Fennemore Craig, P.C.,
                                                                                Contingent
          1425 Fourth Ave., Suite 800                                           Unliquidated
          Seattle, WA 98101                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,154,417.00
          Granite Street Ventures, LLC
                                                                                Contingent
          2468 Santa Barbara Ln                                                 Unliquidated
          Franklin, TN 37069                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       Ideal Property Investments LLC                                                          Case number (if known)            24-1421
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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $900,000.00
          GrayFin Ventures LLC
                                                                                Contingent
          2609 Round Table Blvd                                                 Unliquidated
          The Colony, TX 75056                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $387,146.00
          Great Oak Water, LLC
                                                                                Contingent
          2114 Estes Park Dr                                                    Unliquidated
          Allen, TX 75013                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $407,500.00
          Half Full Vending LLC
                                                                                Contingent
          1413 Chesterton Dr                                                    Unliquidated
          Richardson, TX 75080                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $195,500.00
          Helmut Giewat
                                                                                Contingent
          218 Sullivan Point                                                    Unliquidated
          Dandridge, TN 37725                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $386,325.00
          Horeb Water Solutions LLC
                                                                                Contingent
          6671 Santa Barbara Road, Ste. E                                       Unliquidated
          Elkridge, MD 21075                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $425,198.00
          IMLSunshine LLC
                                                                                Contingent
          334 Dole Drive                                                        Unliquidated
          Lawrence, KS 66049                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,403,296.00
          Indiana Water Technology LLC
                                                                                Contingent
          6404 Myrtle Lane                                                      Unliquidated
          Indianapolis, IN 46220                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          Integra Realty Resources - Charlotte, LL
                                                                                Contingent
          214 W Tremont Ave., Suite 200                                         Unliquidated
          Charlotte, NC 28203                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $433,694.00
          JBF Consulting Services LLC
          1730 S Germantown Rd
                                                                                Contingent
          Apt 207                                                               Unliquidated
          Germantown, TN 38138                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $255,000.00
          Jeffrey Brooke
                                                                                Contingent
          5807 Title Row Drive                                                  Unliquidated
          Bradenton, FL 34210                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $305,500.00
          JK Seven LLC
                                                                                Contingent
          3045 Wheaton Road                                                     Unliquidated
          San Antonio, TX 78234                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $427,000.00
          JLE Enterprises LLC
                                                                                Contingent
          7387 Upton Court                                                      Unliquidated
          Castle Rock, CO 80104                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $425,000.00
          Kdawg Crypto LLC
                                                                                Contingent
          14 Clinton St.                                                        Unliquidated
          Milford, CT 06460                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $650,450.00
          Kmandy Investments LLC
                                                                                Contingent
          6509 San Judas St                                                     Unliquidated
          McKinney, TX 75070                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $425,000.00
          LivingWater Station LLC
                                                                                Contingent
          799 Harbor Vista Drive                                                Unliquidated
          Columbia, SC 29229                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $12,600.00
          Main Street Design Landscape Arch.
                                                                                Contingent
          9402 Tidal Court                                                      Unliquidated
          Bainbridge Island, WA 98110                                           Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       Ideal Property Investments LLC                                                          Case number (if known)            24-1421
              Name

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,501,945.00
          MAJI 8377 LLC
                                                                                Contingent
          8377 Old Plank Rd.                                                    Unliquidated
          Grand Blanc, MI 48439                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $14,933.35
          Matter Business Park
          at Warm Springs Owners Association
          c/o MDL Group LLC
                                                                                Contingent
          5960 S Jones Blvd                                                     Unliquidated
          Las Vegas, NV 89118                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $416,000.00
          May Auerbach
                                                                                Contingent
          20425 Via Cristal                                                     Unliquidated
          Yorba Linda, CA 92886                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $910.02
          Mukilteo Water and Wastewater District
                                                                                Contingent
          7824 Mukilteo Speedway                                                Unliquidated
          Mukilteo, WA 98275                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $869,644.00
          Nira Enterprises LLC
                                                                                Contingent
          3301 Spring Mountain Drive                                            Unliquidated
          Plano, TX 75025                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $12,465.81
          North Peak Associates, LLC
                                                                                Contingent
          17270 Woodinville-Redmond Rd., Suite 705                              Unliquidated
          Woodinville, WA 98072                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $431,941.00
          NS SQ ECO WATERS LLC
                                                                                Contingent
          1153 Flanders CT                                                      Unliquidated
          Aurora, IL 60502                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $891,078.00
          Oaks WaterStation Tech LLC
                                                                                Contingent
          3617 241st SE                                                         Unliquidated
          Issaquah, WA 98029                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



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              Name

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $425,000.00
          Oed Properties LLC
                                                                                Contingent
          66 S. Pilney Plains Circle                                            Unliquidated
          Spring, TX 77382                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,247,171.00
          Pacific Water Technology LLC
                                                                                Contingent
          2305 43rd Street SE                                                   Unliquidated
          Puyallup, WA 98374                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $659.15
          Paine Field - Snohomish County Airport
          Attn: Nickolis Landgraff, 10108 32nd Ave W,
                                                                                Contingent
          Suite J                                                               Unliquidated
          Everett, WA 98204                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,807,461.00
          Prasiti Water Investments LLC
          2001 S Hardin Blvd
                                                                                Contingent
          Suite 110 #102                                                        Unliquidated
          McKinney, TX 75070                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $425,000.00
          Progressive Partners LLC
                                                                                Contingent
          Lowe Street                                                           Unliquidated
          Chantilly, VA 20151                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $517,750.00
          Q& V LLC
          WaterStation Technology of Rockville
                                                                                Contingent
          4905 Macon Road                                                       Unliquidated
          Rockville, MD 20852                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,006,250.00
          RC WS TECH 1157 LLC
                                                                                Contingent
          2960 Lewallen Place                                                   Unliquidated
          Decatur, IL 62521                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,679,764.00
          RD WS TECH 3594
                                                                                Contingent
          7356 Lester Street                                                    Unliquidated
          Lexington, MI 48450                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


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              Name

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,399,000.00
          Redwaters LLC
                                                                                Contingent
          24352 Woodhall Ct                                                     Unliquidated
          Naperville, IL 60564                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $44.00
          Rincon del Diablo Water District
                                                                                Contingent
          1920 North Iris Lane                                                  Unliquidated
          Escondido, CA 92026                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $427,000.00
          Roman Jarosiewicz
                                                                                Contingent
          11013 Prairieview Trl N                                               Unliquidated
          Lake Elmo, MN 55042                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,584,221.00
          Rose Trail Ventures 2 LLC
                                                                                Contingent
          4216 Central Lane                                                     Unliquidated
          Memphis, TN 38117                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,584,221.00
          Rose Trail Ventures LLC
                                                                                Contingent
          4216 Central Lane                                                     Unliquidated
          Memphis, TN 38117                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $458,500.00
          Royal Reservoirs
                                                                                Contingent
          6516 Hackberry Trl                                                    Unliquidated
          Edmond, OK 73034                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,093,000.00
          Rumson Wellness LLC
          508 West 24th Street
                                                                                Contingent
          Apt 6N                                                                Unliquidated
          New York, NY 10011                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,812,369.00
          SDB H20 LLC
                                                                                Contingent
          6276 Talon Preserve Dr                                                Unliquidated
          Nokomis, FL 34275                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Seaga Manufacturing, Inc.
          c/o John S. Kaplan,
          Stoel Rivers LLP,
                                                                                Contingent
          600 University St., Suite 3600                                        Unliquidated
          Seattle, WA 98101                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $64,851.00
          Shutler Consulting Engineers, Inc.
                                                                                Contingent
          12503 Bel-Red Rd., Suite 100                                          Unliquidated
          Bellevue, WA 98005                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $297,500.00
          Silver Oak H2O LLC
                                                                                Contingent
          705 Silver Oak Dr                                                     Unliquidated
          Glenwood Springs, CO 81601                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,410,500.00
          Siripi WST LLC
                                                                                Contingent
          13919 Hughes Lane                                                     Unliquidated
          Dallas, TX 75240                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,002,461.00
          Spruce Water Investments
                                                                                Contingent
          8102 Lowbank Dr.                                                      Unliquidated
          Naples, FL 34109                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $431,825.00
          Starter Holdings LLC
                                                                                Contingent
          2333 W Straight Arrow Ln                                              Unliquidated
          Phoenix, AZ 80585                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $600,000.00
          Summit Ventures 2
                                                                                Contingent
          5940 E Adobe Dr                                                       Unliquidated
          Phoenix, AZ 85054                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,004,500.00
          Sun A WY LLC
                                                                                Contingent
          1613 NW 42nd Pl                                                       Unliquidated
          Cape Coral, FL 33993                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



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 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $15,613.10
          Town & Country Fence Inc.
                                                                                Contingent
          6410 212th St SW                                                      Unliquidated
          Lynnwood, WA 98036                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Tyler Sadek
          Tarek Mercho
          Mercho Caughey
                                                                                Contingent
          828 E 64th                                                            Unliquidated
          Indianapolis, IN 46220                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Judgment
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $854,500.00
          V2S2 LLC
                                                                                Contingent
          5745 W Sumac Ave                                                      Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          Vaupell Industrial Plastics
                                                                                Contingent
          11323 Commando Rd W.                                                  Unliquidated
          Everett, WA 98204                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Water Station Holdings LLC
          Tarek Mercho
          Mercho Caughey
                                                                                Contingent
          828 E. 64th Street                                                    Unliquidated
          Indianapolis, IN 46220                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Judgment
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,979,851.00
          WST LLC
                                                                                Contingent
          6276 Talon Preserve Dr                                                Unliquidated
          Nokomis, FL 34275                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $425,100.00
          WST Utah LLC
                                                                                Contingent
          568 W. Threshing Way                                                  Unliquidated
          Kaysville, UT 84037                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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               Name

 3.88       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $1,005,000.00
            WV Water Tech LLC
                                                                                Contingent
            460 Deerfield Village Dr                                            Unliquidated
            Shepherdstown, WV 25443                                             Disputed
            Date(s) debt was incurred                                        Basis for the claim:
            Last 4 digits of account number                                  Is the claim subject to offset?         No       Yes



 Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

            Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1        James P. Savitt
            Fennemore Craig, P.C.,                                                                    Line     3.56
            1425 Fourth Ave., Suite 800
                                                                                                             Not listed. Explain
            Seattle, WA 98101

 4.2        Tara L. Grundemeier
            Linebarger Goggan Blair & Sampson LLP                                                     Line     2.3
            P.O. Box 3064
                                                                                                             Not listed. Explain
            Houston, TX 77253

 4.3        Tara L. Grundemeier
            Linebarger Goggan Blair & Sampson LLP                                                     Line     2.5
            P.O. Box 3064
                                                                                                             Not listed. Explain
            Houston, TX 77253


 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                   564,639.61
 5b. Total claims from Part 2                                                                            5b.    +     $               105,464,942.70

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                              5c.          $                  106,029,582.31




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